Case 21-21941-TPA               Filed 01/12/22 Entered 01/12/22 16:00:41FILED
                            Doc 53                                         Desc Main
                                Document     Page 1 of 2                1/12/22 3:07 pm
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                                                                        U.S. BANKRUPTCY
                      IN THE UNITED STATES BANKRUPTCY COURT             COURT - :'3$
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In re:                                            Bankruptcy No. 21-21941-TPA

 JEFFREY M. DOLMAJER and,                          Chapter 13
 NICOLE S. DOLMAJER,
                                                   Related to Doc No. 47
               Debtors

 THE MONEY SOURCE, INC.,

               Respondent
          v.

 JEFFREY M. DOLMAJER,
 NICOLE S. DOLMAJER, and
 RONDA J. WINNECOUR, Chapter 13
 Trustee,
          Respondents

   STIPULATED ORDER RESOLVING OBJECTION TO NOTICE OF MORTGAGE
                        PAYMENT CHANGE

      NOW this 12th             day of   January              , 2022, in said District, upon
agreement of the parties:

       In an effort to resolve the pending Objection to Notice of Mortgage Payment Change
(“Objection”) at Document No. 47, the parties agree to stipulate to the entry of the below.

        IT IS ORDERED, ADJUDGED AND DECREED that said Objection is hereby sustained.
The Notice of Mortgage Payment Change (“NOMPC”) filed by The Money Source, Inc. for Claim
No. 11 on December 7, 2021 shall hereby stand. Additionally, the change in payment pursuant to
the NOMPC shall be held in abeyance until the outcome of the pending loss mitigation under the
Loss Mitigation Order at Doc No. 40. If the loss mitigation is not successful, the Debtors shall file
an amended plan within thirty (30) days of the termination of loss mitigation providing for the new
payment under the filed NOMPC. Said payment amount shall be retroactive to the filed change
date of January 1, 2022.




                                                      Honorable Thomas P. Agresti
                                                      U.S. Bankruptcy Court Ju
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/s/ Keri P. Ebeck                            /s/ Mark B. Peduto
Attorney for The Money Store                 Attorney for Debtors
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